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Exhibit D

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1217'CV'1136

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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

VERNON OARD,

Plaimiff,

COUNTY OF MUSKEGON, and
14TH JUDICIAL C]RCUIT COURT,

Defendants.

Case No. 1:17-CV-1136
Hon. PAUL L. M_ALONEY

 

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& KENNEDY, LLP

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DEFENDANTS’ RESPONSE TO PLA]NT]FF'S
FIRST REQUEST FOR PR()DUCTION OF DOCUMENTS

Defendants, through their attorneys Johnson, Rosati, Schu]tz & Joppich,

P.C., answer Plaintiff's First Request _for Production of Documents to Defendants

as follows:

 

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GENERAL OBJECTIONS

Defendants incorporate by reference each and every General Objection set
forth below into each of their objections to Plaintiff’s First Requests for Production
of Documents. The failure to specifically include any General Objection in any
objection to a specific request shall not be interpreted as a waiver of any General
Objection to the request Defendants state the following General Objeotions:

l. Defendants object to each request to the extent that it seeks to impose
obligations upon Defendants beyond those required by the Michigan Rules.

2. Defendants object to providing any information or producing any
document that is protected from disclosure by the attorney-client privilege,
attorney work-product doctrine, or by any other applicable privilege Defendants
will not produce any information protected from discovery by virtue of such
privileges or doctrines To the extent that any such privileged or otherwise
protected information is produced, the production is inadvertent and unintentional,
and Defendants do not intend to waive any applicable privilege or immunity as a
result of such production.

3. Defendants object to Plaintiff s requests to the extent they require
Defendants to produce information or documents not within their possession,
custody, or control. Defendants also object to the extent the requests seek

information nom or relating to any person or entity that is not a party to this

 

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litigation

4. Defendants object on the grounds that Plaintiff’s requests are on the
whole overly broad, unduly burdensome, vague, ambiguous, seek information
which is neither relevant nor material to Plaintiff’s claims, and seek information
that is not proportional to the needs of the case. No disclosure by Defendants of
any information or document shall constitute a Waiver of any objection

5. These responses are made solely for the purpose of this action Each
response is made under all objections as to competence, materiality, relevance,
privilege, or other objection as to admissibility Which may apply in the event that
any such response, or the information contained, is sought to be used in arbitration
Defendants expressly reserve all such objections.

6. Defendants’ decision now or in the future, to provide information or
documents notwithstanding the objectionable nature of any of the definitions or
instructions, or the requests themselves, should not be construed as: (a) a
stipulation that the material is relevant and material to Plaintiffs’ claims; (b) a
waiver of the General Objections or the objections asserted in response to specific
discovery requests; or (c) an agreement that requests for similar information will
be treated in a similar manner.

7. Defendants object to providing confidential and private information

regarding their employees who are not named parties to this litigation

 

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Accordingly, Defendants will only produce such information subject to an
appropriate protective order.

8. These responses reflect Defendants’ current knowledge, but
Defendants’ investigation into these matters continues Accordingly, Defendants
reserve the right to assert additional objections as appropriate and to supplement
their responses to these requests Defendants expressly reserve the right to assert
additional general and specific objections to these requests and to supplement their
responses as their investigation continues

REOUEST FOR PRODUCTION OF DOCUMENTS

1. Please produce all communications and documents relating in any
way to the elimination of the position of Youth Services Director and/or to the
creation of the position of Family Court Clinical Director.

RESPONSE:

Defendants object to this request to the extent it seeks information that may
be protected by the attorney-client privilege or attorney Work product doctrine

Subject to and without waiving the foregoing objections, Defendants direct
Plaintiff to the non-privileged, responsive documents produced herewith, along
with the Bates-Stamped Document Index identifying certain responsive
documents

2. Please produce all communications and documents relating in any

way to the decision: (a) to transfer administrative authority over the Juvenile

Transition Center (“JTC”) to the Family Court; (b) to transition JTC to a licensed

 

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court-operated facility; and/or (c) to reconiigure the Youth Services Director
position to become the Family Court Clinical Directh as part of the transfer of
authority over the JTC to the Family Court.

RESPONSE:

Defendants object that this request is overbroad and seeks information that is
not proportional to the needs 'of the case. Defendants further object to this request
to the extent it seeks information that may be protected by the attorney-client
privilege or attorney work product doctrine.

Subject to and without waiving the foregoing objections, Defendants direct
Plaintiff to the non-privileged, responsive documents produced herewith, along
with the Bates-Stamped Document Index identifying certain responsive
documents

3. Please produce all communications and documents relating in any
way to the layoff of Plaintiff from his position as Youth Services Director.

RESPONSE:

Defendants object to this request to the extent it seeks information that may
be protected by the attorney-client privilege or attorney work product doctrine

Subject to and without Waiving the foregoing objections, Defendants direct
Plaintiff to the non-privileged, responsive documents produced herewith, along
With the Bates-Stamped Document Index identifying certain responsive
documents

4. Please produce all communications and documents, including but not

limited to e-mail messages, meeting minutes, and meeting notes, relating in any

way to the “JJAT” committee

 

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RESPONSE;

Defendants object that this request is overbroad and unduly burdensome,
particularly as it is unlimited in scope and duration

Subject to and without waiving the foregoing objections, Defendants direct
Plaintiff to the non-privileged, responsive documents produced herewith, along
with the Bates-Stamped Document Index identifying certain responsive
documents

5. Please produce all communications and documents relating in any
way to the selection of Ms. Lindsay Nelson for the position of Interim Family
Court Clinical Director.

RESPONSE:

Defendants direct Plaintiff to the non-privileged, responsive documents
produced herewith, along With the Bates-Stamped Document Index identifying
certain responsive documents

6. Please produce all communications and documents relating in any
way to the interview and hiring process for the interim and/or permanent position
of Family Court Clinical Director.

RESPONSE:
Defendants direct Plaintiff to the non-privileged, responsive documents

produced herewith, along With the Bates-Stamped Document Index identifying
certain responsive documents

 

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7. Please produce all communications and documents relating in any
way to any investigation by Defendants regarding Mr. Eric Stevens.
RESPONSE:

Defendants object that this request is overbroad, unduly burdensome, vague,
ambiguous, and that it seeks information that is not proportional to the needs of the
case. Defendants also object to this request as it seeks personal information
regarding individuals who are not parties to this action Defendants further object
to this request to the extent it calls for information and documents that may be
protected by the attorney-client privilege or attorney work product doctrine

Subject to and without Waiving the foregoing objections, Defendants direct
Plaintiff to the non-privileged, responsive documents produced herewith, along
with the Bates-Stamped Document Index identifying certain responsive
documents

8. Please produce Mr. Eric Stevens’ entire personnel file.
RESPONSE:

Defendants object that this request seeks private or otherwise confidential
information of individuals who are not parties to this action on issues that are not
relevant, and that this request is not proportional to the needs of the case.

9. Please produce all communications and documents relating in any
way to any investigation by Defendants regarding Ms. Lindsay Nelson.
RESPONSE:

Defendants object that this request is overbroad, vague, and ambiguous
particularly with respect to the phrase “relating in any way to any investigation by
Defendants regarding Ms. Lindsay Nelson.” Defendants further object that this
request seeks private or otherwise confidential information of individuals who are
not parties to this action on issues that are not relevant, and that this request is not
proportional to the needs of the case.

 

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10. Please produce Ms. Lindsay Nelson’s entire personnel file
RESPONSE:

Defendants object that this request seeks private or otherwise confidential
information of individuals who are not parties to this action on issues that are not
relevant, and that this request is not proportional to the needs of the case

ll. Please produce Ms. Kelly France’s entire personnel file
RESPONSE:

Defendants object that this request seeks private or otherwise confidential
information of individuals who are not parties to this action on issues that are not
relevant, and that this request is not proportional to the needs of the case

12. Please produce copies of all communications and documents related
in any way to complaints made by employees of Defendant to the Equal
Employment Opportunity Commission (“EEOC”) and/or the Michigan Department
of Civil Rights (“MDCR”) regarding Mr. Eric Stevens. This request includes any
communications and documents related to formal or informal reports or complaints
regarding Mr. Stevens made to Mr. Tim Bracey, regardless of whether a formal
charge was filed With the EEOC or the MDCR.

RESPONSE:

Defendants object that this request seeks private or otherwise confidential
information of individuals who are not parties to this action on issues that are not
relevant, and that this request is not proportional to the needs of the case
Defendants further object to this request to the extent it calls for information and

documents that may be protected by the attorney-client privilege or attorney work
product doctrine

 

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Subject to and without waiving the foregoing objections, Defendants direct
Plaintiff to the non-privileged, responsive documents produced herewith, along
with the Bates-Stamped Document Index identifying certain responsive
documents

13. Please produce all communications and documents relating in any
way to Ms. Lindsay Nelson’s resignation from employment with Defendant,
including but not limited to communications designed to induce and/or encourage
her to resign, and/or any severance agreement with her.

RESPONSE:

Defendants object that this request seeks private or otherwise confidential
information of individuals who are not parties to this action on issues that are not
relevant, and that this request is not proportional to the needs of the case

14. Please produce all communications and documents relating in any
way to Mr. Eric Stevens’ resignation from employment with Defendant, including
but not limited to communications designed to induce and/or encourage him to
resign, and/or any severance agreement with him.

RESPONSE:

Defendants object that this request seeks private or otherwise confidential
information of individuals who are not parties to this action on issues that are not
relevant, and that this request is not proportional to the needs of the case
Defendants further object to the extent this request seeks information and

documents that may be protected by the attorney-client privilege or attorney work
product doctrine

 

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15. Please produce all applications of the ll applicants who applied for
the Family Court Clinical Director position in November and December 2016.
RESPONSE:

Defendants object that this request seeks private or otherwise confidential
information of individuals who are not parties to this action on issues that are not
relevant, and that this request is not proportional to the needs of the case

Subject to and without waiving the foregoing objections, Defendants direct
Plaintiff to the non-privileged, responsive documents produced herewith, along
with the Bates-Stamped Document Index identifying certain responsive
documents

16. Please produce all communications and documents upon which you
intend to rely at trial.

RESPONSE:

Defendants object that this request seeks information or documents that may
be protected by the attorney-client privilege or attorney work product doctrine and
that the request is premature at this time

17. Please produce all communications and documents which tend to
support or refute Plaintiff’s claims in the Complaint.

RESPONSE:

Defendants object that this request seeks information or documents that may
be protected by the attorney-client privilege or attorney work product doctrine and
that the request is premature at this time

Subject to and without waiving the foregoing objections, Defendants direct

Plaintiff to the non-privileged, responsive documents produced herewith, along
with the Bates-Stamped Document Index identifying certain responsive

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documents

18. Please produce all communications and documents related to
Plaintiffs job performance which are not contained within his personnel file, and
specifically which support or refute Defendants’ Answers in Paragraphs 11 and 22.
RESPONSE:

Defendants object that this request seeks information or documents that may
be protected by the attorney-client privilege or attorney work product doctrine and
that the request is premature at this time

Subject to and without waiving the foregoing objections, Defendants direct
Plaintiff to the non-privileged, responsive documents produced herewith, along
with the Bates-Stamped Document Index identifying certain responsive
documents

19. Please produce all communications and documents which tend to
support or refute Defendants’ Affinnative Defenses
RESPONSE:

Defendants object that this request seeks information or documents that may
be protected by the attorney-client privilege or attorney work product doctrine and
that the request is premature at this time

Subject to and without waiving the foregoing objections, Defendants direct
Plaintiff to the non-privileged, responsive documents produced herewith, along
with the Bates-Stamped Document Index identifying certain responsive
documents

20. Please produce all communications and documents Which tend to

support or refute a conclusion that Eric Stevens engaged in a sexual and/or

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otherwise romantic relationship With any employees or other agents of Defendants
RESPONSE:

Defendants object that this request seeks private or otherwise confidential
information of individuals who are not parties to this action on issues that are not
relevant, and that this request is not proportional to the needs of the case.
Defendants further object that this request seeks information or documents that
may be protected by the attorney-client privilege or attorney Work product doctrine
and that the request is premature at this time

As to objections only,

JOHNSON, ROSATI,
SCHULTZ & JOPPICH, P.C.

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Dared: ~/v¢ ly 31,7- Dl 3 (P79742)

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PROOF OF SERVICE

The undersigned certifies that the foregoing
was served upon all parties to the above
cause to each of the attorneys/parties of
record herein at their respective addresses
disclose on the pleadings on

73///£/

BY: U.S. Mail l:i Telefacsimile
l:lHand Delivered [:lOvernight
courier
l:]F ederal Express .Other: E-mail

Signature:

Lori A. Gazda

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